               IN THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         ASHEVILLE DIVISION
                   CIVIL CASE NO. 1:12-cv-00123-MR
               [CRIMINAL CASE NO. 1:09-cr-00013-MR-3]


DENNIS LAMAR BRUTON,            )
                                )
         Petitioner,            )
                                )
         vs.                    )                     ORDER
                                )
UNITED STATES OF AMERICA,       )
                                )
         Respondent.            )
_______________________________ )

       THIS MATTER comes before the Court upon the Petitioner’s “Motion

Pursuant to Rule 60(b)(6)” [Doc. 24].

I.     PROCEDURAL BACKGROUND

       On June 29, 2009, the Petitioner pled guilty to one count of conspiracy

to possess with the intent to distribute fifty or more grams of cocaine base,

in violation of 21 U.S.C. §§ 846 and 841(a)(1). [Criminal Case No. 1:09-cr-

13-MR-3 (“CR”), Doc. 261: Acceptance and Entry of Guilty Plea]. The

Petitioner was found to be a career offender within the meaning of U.S.S.G.

§ 4B1.1(a) and was sentenced on July 9, 2010, to 262 months’

imprisonment. [CR Doc. 546: Judgment]. The Petitioner appealed [CR Doc.

552], but that appeal was dismissed on September 20, 2010, for failure to



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prosecute [CR Doc. 559]. The Petitioner did not seek a petition for certiorari

with the United States Supreme Court.

        On May 26, 2012, the Petitioner filed a motion to vacate pursuant to

28 U.S.C. § 2255, asserting a claim of ineffective assistance of counsel as

well as claims for relief under the Fourth Circuit’s en banc decision in United

v. Simmons, 649 F.3d 237 (4th Cir. 2011) (en banc) and the Fair Sentencing

Act of 2010. [Doc. 1]. On June 12, 2013, the Court dismissed the Petitioner’s

motion as untimely. [Doc. 8]. The Petitioner appealed, but the Fourth Circuit

dismissed his appeal and denied a certificate of appealability. [Doc. 13].

        On October 17, 2017, the Petitioner mailed the present motion to the

Court, purportedly seeking relief pursuant to Rule 60(b)(6) of the Federal

Rules of Civil Procedure. [Doc. 24]. In his motion, the Petitioner essentially

re-argues his claims under Simmons and the Fair Sentencing Act.

Additionally, he alleges that his Sixth Amendment rights were violated when

he was found responsible for drug quantities in excess of those admitted to

in his guilty plea. [Id.].

II.     ANALYSIS

        Although styled a motion under Rule 60, the Petitioner’s motion directly

attacks his conviction and sentence and therefore amounts to a successive

application. See United States v. Winestock, 340 F.3d 200, 207 (4th Cir.

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2003) (“[A] brand-new, free-standing allegation of constitutional error in the

underlying criminal judgment will virtually always implicate the rules

governing successive applications.         Similarly, new legal arguments or

proffers of additional evidence will usually signify that the prisoner is not

seeking relief available under Rule 60(b) but is instead continuing his

collateral attack on his conviction or sentence.”); see also Gonzalez v.

Crosby, 545 U.S. 524, 531 (2005) (“Virtually every Court of Appeals to

consider the question has held that such a pleading, although labeled a Rule

60(b) motion, is in substance a successive habeas petitioner and should be

treated accordingly.”).

      A petitioner must obtain permission from the appropriate court of

appeals before he may file a second motion under § 2255. 28 U.S.C. §

2255(h). Because the Petitioner has provided no evidence that he has

secured authorization from the Fourth Circuit to file a successive § 2255

motion, the Court concludes that it is without jurisdiction to consider the

merits of the present motion. The Petitioner’s Rule 60(b) motion, therefore,

will also be dismissed.

      Pursuant to Rule 11(a) of the Rules Governing Section 2255 Cases,

the Court declines to issue a certificate of appealability as Petitioner has not

made a substantial showing of a denial of a constitutional right. 28 U.S.C. §

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2253(c)(2); Miller–El v. Cockrell, 537 U.S. 322, 336-38 (2003) (in order to

satisfy § 2253(c), a petitioner must demonstrate that reasonable jurists would

find the district court's assessment of the constitutional claims debatable or

wrong); Slack v. McDaniel, 529 U.S. 473, 484 (2000) (holding that when relief

is denied on procedural grounds, a petitioner must establish both that the

correctness of the dispositive procedural ruling is debatable, and that the

petition states a debatably valid claim of the denial of a constitutional right).

      IT IS, THEREFORE, ORDERED that the Petitioner’s “Motion Pursuant

to Rule 60(b)(6)” [Doc. 24] is DISMISSED as an unauthorized, successive

Section 2255 motion.

      IT IS FURTHER ORDERED that pursuant to Rule 11(a) of the Rules

Governing Section 2255 Cases, the Court declines to issue a certificate of

appealability.

      IT IS SO ORDERED.
                                  Signed: November 3, 2017




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